     Case 2:18-cv-00040-JCM-VCF Document 29 Filed 09/11/19 Page 1 of 2


 1   STDM
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     Nevada Bar No. 13889
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     Attorneys for Plaintiff
 8

 9                               UNITED STATES DISTRICT COURT

10                                   DISTRICT OF NEVADA
11
       CRISTIAN GARCIA-CHAVEZ,                  Case No.: 2:18-cv-00040-JCM-VCF
12

13
                    Plaintiff,
           vs.
14
       J.B. HUNT TRANSPORT, INC., and
15     ORLANDA JOHNSON, et.al
16

17

18
                 STIPULATION AND ORDER FOR DISMISSAL WITH PREJUDICE

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26   ///
27   ///
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     Case 2:18-cv-00040-JCM-VCF Document 29 Filed 09/11/19 Page 2 of 2


 1               STIPULATION AND ORDER FOR DISMISSAL WITH PREJUDICE
 2          IT IS HEREBY STIPULATED by and between the parties hereto that the above-entitled
 3   matter be dismissed with prejudice, each party to bear its own costs and attorney’s fees. There are no
 4   hearings presently set before the Court.
 5

 6    DATED this 11th day of September, 2019.            DATED this 11th day of September, 2019.

 7
      HENNESS & HAIGHT                                   THORPE SHWER, P.C.
 8

 9

10
      By: /s/ Jacob S. Smith                             By: /s/ William L. Thorpe
11
      JACOB S. SMITH, ESQ.                               WILLIAM L. THORPE, ESQ.
12
      Nevada Bar No. 10231                               Arizona Bar No. 005641 (Pro Hac Vice)
      8972 Spanish Ridge Avenue                          3200 North Central Avenue, Suite 1560
13    Las Vegas, Nevada 89148                            Phoenix, Arizona 85012-2441
14

15

16                                                 ORDER
17          HEREBY ORDERED this ______ day of September, 2019.
18

19
                                                    _______________________________________
20                                                  U.S. DISTRICT COURT JUDGE
21
     Respectfully submitted:
22
     HENNESS & HAIGHT
23

24
       /s/ Jacob S. Smith
25   JACOB S. SMITH, ESQ.
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26   8972 Spanish Ridge Avenue
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     Attorney for Plaintiff
28
